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                          Exhibit 8
            Declaration of Captain P. Chorosevic


                    Mostafa v. Garland, et al.,
              No. 20-cv-00694-PAB-SKC (D. Colo.)
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-00694-PAB-SKC

  MOSTAFA KAMEL MOSTAFA,

  Plaintiff,

  v.

  MERRICK GARLAND, United States Attorney General, in his official capacity,
  CHRISTOPHER WRAY, FBI Director, in his official capacity,
  MICHAEL CARVAJAL, BOP Director, in his official capacity,
  B. TRUE, ADX Warden, in his official capacity,
  TUTOILUMUNDO, ADX Unit Manager, in his official capacity,
  MACMILLAN, ADX Facilities Department, in his official capacity,
  FOLLOWS, ADX Medical Department Manager, in her official capacity,
  LOEWE, ADX officer, in his official capacity,
  NORJANO, ADX Officer, in his official capacity,
  CHOROSEVIC, ADX Occupational Therapist, in his individual capacity,
  PARRY, ADX Officer, in his individual capacity,
  AVERIT, ADX Officer, in his individual capacity,
  GARDUNO, ADX Lieutenant, in his individual capacity,
  WILLIAM, ADX Nurse, in his individual capacity,
  HUDELSTON, ADX Nurse, in his individual capacity,
  STERETT, ADX Doctor, in his individual capacity,
  ARMIJO, ADX Lieutenant, in his individual capacity, and
  EDWARDS, ADX Officer, in his individual capacity.

  Defendants.


                         DECLARATION OF CAPTAIN P. CHOROSEVIC


            I, Captain P. Chorosevic, pursuant to 28 U.S.C. § 1746, and based upon my personal

  knowledge and information made known to me from official records reasonably relied upon by

  me in the course of my employment, hereby declare as follows relating to the above-titled

  matter:
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         1.      I am commissioned as a Captain with the United States Public Health Service

  (“USPHS”). I received my commission from USPHS on August 27, 2007.

         2.      In my capacity as a USPHS officer, I am assigned as the Director of

  Rehabilitation Services for the Federal Bureau of Prisons, specifically, the Federal Correctional

  Complex in Butner, North Carolina (“FCC Butner”). All of my actions with regard to Plaintiff

  were done in the performance of a medical or related function within the scope of my

  employment as a commissioned officer with USPHS.

         Pursuant to the provisions of 28 U.S.C. § 1746, I declare under penalty of perjury that the

  foregoing is true and correct to the best of my information, knowledge, and belief.

         Executed on this 16th day of August 2022, in Butner, North Carolina.


                                               /s/ P. Chorosevic
                                               CAPT. P. Chorosevic
                                               Director of Rehabilitation Services
                                               United States Public Health Service
                                               FCC Butner




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